                                                                                                          Case 09-26377                     Doc 1          Filed 07/21/09 Entered 07/21/09 16:47:00                                             Desc Main
                                                                                         B1 (Official Form 1) (1/08)                                         Document     Page 1 of 51
                                                                                                                                   United States Bankruptcy Court                                                                           Voluntary Petition
                                                                                                                                     Northern District of Illinois
                                                                                          Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                           Rinaolo, Richard T.                                                                                Rinaolo, Beth L.
                                                                                          All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
                                                                                          (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
                                                                                           None                                                                                               None

                                                                                         Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                         (if more than one, state all): 5390                                               (if more than one, state all):    2298
                                                                                          Street Address of Debtor (No. and Street, City, and State)                                     Street Address of Joint Debtor (No. and Street, City, and State
                                                                                           1668 Telegraph Road                                                                                1668 Telegraph Road
                                                                                           Lake Forest, IL                                                                                    Lake Forest, IL
                                                                                                                                                                ZIPCODE                                                                                  ZIPCODE
                                                                                                                                                                   60045                                                                                    60045
                                                                                          County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:
                                                                                           Lake                                                                                               Lake
                                                                                          Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                ZIPCODE                                                                                  ZIPCODE

                                                                                          Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                         ZIPCODE

                                                                                                        Type of Debtor                                         Nature of Business                                     Chapter of Bankruptcy Code Under Which
                                                                                                     (Form of Organization)                         (Check one box)                                                        the Petition is Filed (Check one box)
                                                                                                        (Check one box)                                 Health Care Business                                     Chapter 7
                                                                                                                                                        Single Asset Real Estate as defined in
                                                                                                                                                                                                                                           Chapter 15 Petition for
                                                                                             Individual (includes Joint Debtors)
                                                                                                                                                        11 U.S.C. § 101 (51B)                                    Chapter 9                 Recognition of a Foreign
                                                                                             See Exhibit D on page 2 of this form.
                                                                                                                                                        Railroad                                                                           Main Proceeding
                                                                                             Corporation (includes LLC and LLP)                                                                                  Chapter 11
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                                                                                             Partnership                                                Stockbroker                                                                        Chapter 15 Petition for
                                                                                                                                                                                                                  Chapter 12
                                                                                             Other (If debtor is not one of the above entities,         Commodity Broker                                                                   Recognition of a Foreign
                                                                                                                                                                                                                 Chapter 13                Nonmain Proceeding
                                                                                             check this box and state type of entity below.)            Clearing Bank
                                                                                                                                                        Other                                                                     Nature of Debts
                                                                                                                                                                                                                                   (Check one box)
                                                                                                                                                                                                                 Debts are primarily consumer
                                                                                                                                                                   Tax-Exempt Entity                             debts, defined in 11 U.S.C.             Debts are primarily
                                                                                                                                                                 (Check box, if applicable)                      §101(8) as "incurred by an              business debts
                                                                                                                                                           Debtor is a tax-exempt organization                   individual primarily for a
                                                                                                                                                           under Title 26 of the United States                   personal, family, or household
                                                                                                                                                           Code (the Internal Revenue Code)                      purpose."
                                                                                                                     Filing Fee (Check one box)                                                   Check one box:       Chapter 11 Debtors
                                                                                                 Full Filing Fee attached                                                                            Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                     Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                 Filing Fee to be paid in installments (Applicable to individuals only) Must attach               Check if:
                                                                                                 signed application for the court's consideration certifying that the debtor is unable               Debtor’s aggregate noncontingent liquidated debts (excluding debts
                                                                                                 to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                          owed to insiders or affiliates) are less than $2,190,000
                                                                                                                                                                                                  Check all applicable boxes
                                                                                                 Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        A plan is being filed with this petition.
                                                                                                 attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                     Acceptances of the plan were solicited prepetition from one or
                                                                                                                                                                                                     more classes, in accordance with 11 U.S.C. § 1126(b).
                                                                                           Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                                                                                                                         COURT USE ONLY
                                                                                             Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                             Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                             distribution to unsecured creditors.
                                                                                         Estimated Number of Creditors

                                                                                          1-49           50-99          100-199           200-999          1000-            5,001-            10,001-        25,001-          50,001-       Over
                                                                                                                                                           5000             10,000            25,000         50,000           100,000       100,000
                                                                                         Estimated Assets

                                                                                         $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001       $100,000,001     $500,000,001    More than
                                                                                         $50,000        $100,000       $500,000          to $1           to $10           to $50         to $100           to $500          to $1 billion   $1 billion
                                                                                                                                         million        million          million         million           million
                                                                                         Estimated Liabilities

                                                                                         $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001       $100,000,001     $500,000,001    More than
                                                                                         $50,000        $100,000       $500,000          to $1           to $10           to $50         to $100           to $500          to $1 billion   $1 billion
                                                                                                                                         million        million          million         million           million
                                                                                         B1 (OfficialCase 09-26377
                                                                                                     Form 1) (1/08)                     Doc 1          Filed 07/21/09 Entered 07/21/09 16:47:00                                              Desc Main                    Page 2
                                                                                                                                                         Document     Page 2 of 51
                                                                                         Voluntary Petition                                                                           Name of Debtor(s):
                                                                                         (This page must be completed and filed in every case)                                       Richard T. Rinaolo & Beth L. Rinaolo
                                                                                                               All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                         Location                                                                             Case Number:                                           Date Filed:
                                                                                         Where Filed:           NONE

                                                                                          Location                                                                             Case Number:                                          Date Filed:
                                                                                          Where Filed:
                                                                                                          N.A.
                                                                                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                          Name of Debtor: NONE                                     Case Number:                           Date Filed:


                                                                                          District:                                                                            Relationship:                                          Judge:


                                                                                                                         Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                                           (To be completed if debtor is an individual
                                                                                         (To be completed if debtor is required to file periodic reports (e.g., forms                                      whose debts are primarily consumer debts)
                                                                                         10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                         Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                                                                                                                 the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                         relief under chapter 11)                                                                States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                                 I further certify that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).




                                                                                                  Exhibit A is attached and made a part of this petition.                        X
                                                                                                                                                                                       Signature of Attorney for Debtor(s)                             Date


                                                                                                                                                                      Exhibit C
                                                                                         Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                  Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                  No
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                                                                                                                                                                        Exhibit D
                                                                                           (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                      Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                          If this is a joint petition:
                                                                                                      Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                     Information Regarding the Debtor - Venue
                                                                                                                                                                 (Check any applicable box)
                                                                                                                  Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                                  immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                  There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                                                                                                                  Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                                                                                                                  or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                                                                                                                  court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                            Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                   (Check all applicable boxes)
                                                                                                                  Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                  (Name of landlord that obtained judgment)


                                                                                                                                                                   (Address of landlord)
                                                                                                                  Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                  entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                  Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                                  period after the filing of the petition.
                                                                                                                  Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
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                                                                                         Voluntary Petition                                                                     Name of Debtor(s):
                                                                                         (This page must be completed and filed in every case)                                 Richard T. Rinaolo & Beth L. Rinaolo
                                                                                                                                                                        Signatures
                                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
                                                                                           I declare under penalty of perjury that the information provided in this petition
                                                                                           is true and correct.
                                                                                           [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                           has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                           chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                           available under each such chapter, and choose to proceed under chapter 7.
                                                                                           [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                           petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                            I request relief in accordance with chapter 15 of title 11, United States
                                                                                           I request relief in accordance with the chapter of title 11, United States                       Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                           Code, specified in this petition.                                                                attached.

                                                                                                                                                                                            Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                            title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                            recognition of the foreign main proceeding is attached.
                                                                                           X /s/ Richard T. Rinaolo
                                                                                               Signature of Debtor                                                                  X
                                                                                                                                                                                        (Signature of Foreign Representative)
                                                                                           X /s/ Beth L. Rinaolo
                                                                                              Signature of Joint Debtor

                                                                                                                                                                                        (Printed Name of Foreign Representative)
                                                                                               Telephone Number (If not represented by attorney)
                                                                                                July 21, 2009
                                                                                                Date                                                                                     (Date)

                                                                                                                Signature of Attorney*
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                                                                                          X      /s/ James T. Magee                                                                        Signature of Non-Attorney Petition Preparer
                                                                                               Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                                                                                                                                 as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                              JAMES T. MAGEE 1729446                                                             and have provided the debtor with a copy of this document and the notices
                                                                                               Printed Name of Attorney for Debtor(s)                                            and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                                                                                                 3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                              Magee, Negele & Associates, P.C.                                                   setting a maximum fee for services chargeable by bankruptcy petition
                                                                                               Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                              444 North Cedar Lake Road                                                          document for filing for a debtor or accepting any fee from the debtor, as
                                                                                               Address                                                                           required in that section. Official Form 19 is attached.
                                                                                              Round Lake, Illinois 60073
                                                                                                                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                              (847) 546-0055
                                                                                              Telephone Number
                                                                                                                                                                                 Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                              July 21, 2009                                                                      state the Social Security number of the officer, principal, responsible person or
                                                                                             Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                          *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                          certification that the attorney has no knowledge after an inquiry that the
                                                                                          information in the schedules is incorrect.                                              Address

                                                                                                 Signature of Debtor (Corporation/Partnership)
                                                                                            I declare under penalty of perjury that the information provided in this petition
                                                                                            is true and correct, and that I have been authorized to file this petition on       X
                                                                                            behalf of the debtor.

                                                                                            The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                            United States Code, specified in this petition.
                                                                                                                                                                                    Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                    person, or partner whose Social Security number is provided above.
                                                                                          X
                                                                                              Signature of Authorized Individual                                                    Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                    assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                    not an individual:
                                                                                               Printed Name of Authorized Individual
                                                                                                                                                                                    If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                    conforming to the appropriate official form for each person.
                                                                                               Title of Authorized Individual
                                                                                                                                                                                    A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              Date                                                                                  imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
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                                                                                         B1 D (Official Form 1, Exhibit D ) (12/08)


                                                                                                                             UNITED STATES BANKRUPTCY COURT
                                                                                                                                        Northern District of Illinois




                                                                                               Richard T. Rinaolo & Beth L. Rinaolo
                                                                                         In re______________________________________                                Case No._____________
                                                                                                         Debtor(s)                                                        (if known)


                                                                                                    EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                    CREDIT COUNSELING REQUIREMENT

                                                                                                 Warning: You must be able to check truthfully one of the five statements regarding
                                                                                         credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                         case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                         filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                         you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                         required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                         collection activities.

                                                                                                Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
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                                                                                         must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                         any documents as directed.

                                                                                                1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                         from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                         administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                         performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                         services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                         developed through the agency.

                                                                                                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                         from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                         administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                         performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                         the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                         services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                         no later than 15 days after your bankruptcy case is filed.
                                                                                                 Case 09-26377               Doc 1        Filed 07/21/09 Entered 07/21/09 16:47:00   Desc Main
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                                                                                                 3. I certify that I requested credit counseling services from an approved agency but
                                                                                         was unable to obtain the services during the five days from the time I made my request, and the
                                                                                         following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                         so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                If your certification is satisfactory to the court, you must still obtain the credit
                                                                                         counseling briefing within the first 30 days after you file your bankruptcy case and
                                                                                         promptly file a certificate from the agency that provided the counseling, together with a
                                                                                         copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                         requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                         can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                         be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                         without first receiving a credit counseling briefing.

                                                                                                4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                         applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                        Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                decisions with respect to financial responsibilities.);
                                                                                                        Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
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                                                                                                extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                briefing in person, by telephone, or through the Internet.);
                                                                                                        Active military duty in a military combat zone.

                                                                                                5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                         counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                I certify under penalty of perjury that the information provided above is true and
                                                                                         correct.



                                                                                                                      Signature of Debtor:              /s/ Richard T. Rinaolo
                                                                                                                                                       RICHARD T. RINAOLO

                                                                                                                                                    July 21, 2009
                                                                                                                                           Date: _________________
                                                                                                 Case 09-26377                Doc 1   Filed 07/21/09 Entered 07/21/09 16:47:00     Desc Main
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                                                                                         B1 D (Official Form 1, Exhibit D ) (12/08)


                                                                                                                             UNITED STATES BANKRUPTCY COURT
                                                                                                                                        Northern District of Illinois




                                                                                               Richard T. Rinaolo & Beth L. Rinaolo
                                                                                         In re______________________________________                                Case No._____________
                                                                                                         Debtor(s)                                                        (if known)


                                                                                                    EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                    CREDIT COUNSELING REQUIREMENT

                                                                                                 Warning: You must be able to check truthfully one of the five statements regarding
                                                                                         credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                         case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                         filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                         you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                         required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                         collection activities.

                                                                                                Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
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                                                                                         must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                         any documents as directed.

                                                                                                1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                         from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                         administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                         performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                         services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                         developed through the agency.

                                                                                                 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                         from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                         administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                         performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                         the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                         services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                         no later than 15 days after your bankruptcy case is filed.
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                                                                                                 3. I certify that I requested credit counseling services from an approved agency but
                                                                                         was unable to obtain the services during the five days from the time I made my request, and the
                                                                                         following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                         so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                If your certification is satisfactory to the court, you must still obtain the credit
                                                                                         counseling briefing within the first 30 days after you file your bankruptcy case and
                                                                                         promptly file a certificate from the agency that provided the counseling, together with a
                                                                                         copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                         requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                         can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                         be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                         without first receiving a credit counseling briefing.

                                                                                                4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                         applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                        Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                decisions with respect to financial responsibilities.);
                                                                                                        Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
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                                                                                                extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                briefing in person, by telephone, or through the Internet.);
                                                                                                        Active military duty in a military combat zone.

                                                                                                5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                         counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                I certify under penalty of perjury that the information provided above is true and
                                                                                         correct.



                                                                                                                   Signature of Joint Debtor:           /s/ Beth L. Rinaolo
                                                                                                                                                       BETH L. RINAOLO

                                                                                                                                                    July 21, 2009
                                                                                                                                           Date: _________________
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                                                                                         B6 Cover (Form 6 Cover) (12/07)



                                                                                         FORM 6. SCHEDULES

                                                                                         Summary of Schedules
                                                                                         Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                         Schedule A - Real Property
                                                                                         Schedule B - Personal Property
                                                                                         Schedule C - Property Claimed as Exempt
                                                                                         Schedule D - Creditors Holding Secured Claims
                                                                                         Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                         Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                         Schedule G - Executory Contracts and Unexpired Leases
                                                                                         Schedule H - Codebtors
                                                                                         Schedule I - Current Income of Individual Debtor(s)
                                                                                         Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                         Unsworn Declaration under Penalty of Perjury
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                                                                                         GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                         amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                         identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                         the case number should be left blank

                                                                                         Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                         claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                         A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                         which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                         the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                         transactions, each claim should be scheduled separately.

                                                                                         Review the specific instructions for each schedule before completing the schedule.
                                                                                                         Case 09-26377
                                                                                         B6A (Official Form 6A) (12/07)
                                                                                                                                    Doc 1        Filed 07/21/09 Entered 07/21/09 16:47:00                                             Desc Main
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                                                                                         In re    Richard T. Rinaolo & Beth L. Rinaolo                                                  Case No.
                                                                                                                    Debtor                                                                                                     (If known)

                                                                                                                                         SCHEDULE A - REAL PROPERTY
                                                                                            Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                         tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                         the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                         “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                         “Description and Location of Property.”

                                                                                           Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                         Unexpired Leases.

                                                                                             If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                         claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                            If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                         Property Claimed as Exempt.




                                                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                        CURRENT VALUE
                                                                                                                                                                                                                          OF DEBTOR’S
                                                                                                       DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN       AMOUNT OF
                                                                                                              OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT      SECURED
                                                                                                                                                                                                                        DEDUCTING ANY         CLAIM
                                                                                                                                                                                                                        SECURED CLAIM
                                                                                                                                                                                                                         OR EXEMPTION



                                                                                          Marital Residence                                             Tenancy by the Entirety                    J                         800,000.00      1,240,926.00
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                                                                                          1668 Telegraph Road
                                                                                          Lake Forest, IL 60045
                                                                                          ($800,000 to $1,500,000)




                                                                                                                                                                                       Total
                                                                                                                                                                                                                             800,000.00

                                                                                                                                                                                       (Report also on Summary of Schedules.)
                                                                                                             Case 09-26377
                                                                                         B6B (Official Form 6B) (12/07)
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                                                                                         In re      Richard T. Rinaolo & Beth L. Rinaolo                                                 Case No.
                                                                                                                           Debtor                                                                             (If known)

                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                              Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                         place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                         identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                         community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                         individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                             Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                         Unexpired Leases.

                                                                                               If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                         If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                         "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                           CURRENT VALUE OF




                                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                                           DEBTOR’S INTEREST
                                                                                                                                                 N                                                                                            IN PROPERTY,
                                                                                                      TYPE OF PROPERTY                           O                     DESCRIPTION AND LOCATION                                                 WITHOUT
                                                                                                                                                 N                           OF PROPERTY                                                    DEDUCTING ANY
                                                                                                                                                 E                                                                                          SECURED CLAIM
                                                                                                                                                                                                                                             OR EXEMPTION


                                                                                           1.    Cash on hand.                                          Cash on Hand                                                    J                         1,000.00
                                                                                           2. Checking, savings or other financial                      Deposits of Money (Lake Forest Bank & Trust)                    J                         1,500.00
                                                                                           accounts, certificates of deposit, or shares in
                                                                                           banks, savings and loan, thrift, building and                Deposits of Money (Lake Forest Bank & Trust)                    J                           300.00
                                                                                           loan, and homestead associations, or credit
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                                                                                           unions, brokerage houses, or cooperatives.


                                                                                           3. Security deposits with public utilities,           X
                                                                                           telephone companies, landlords, and others.

                                                                                           4. Household goods and furnishings, including                Living Room Furniture and Furnishings                           J                           600.00
                                                                                           audio, video, and computer equipment.
                                                                                                                                                        Televisions, DVD Player, VCR, Stereo and Lamps                  J                           350.00
                                                                                                                                                        Bedroom Set, Washer and Dryer                                   J                           400.00
                                                                                                                                                        Dining Room Set, Kitchen Table and Chairs                       J                           400.00
                                                                                                                                                        Kitchen Utensils, Stove and Refrigerator                        J                           250.00
                                                                                                                                                        Microwave and Dishwasher                                        J                           125.00
                                                                                           5. Books. Pictures and other art objects,                    Books and Pictures                                              J                           100.00
                                                                                           antiques, stamp, coin, record, tape, compact disc,
                                                                                           and other collections or collectibles.

                                                                                           6.    Wearing apparel.                                       Wearing Apparel                                                 J                           500.00
                                                                                           7.    Furs and jewelry.                               X
                                                                                           8. Firearms and sports, photographic, and                    Exercise Equipment                                              J                            50.00
                                                                                           other hobby equipment.
                                                                                                                                                        Photography Equipment                                           J                            50.00
                                                                                           9. Interests in insurance policies. Name              X
                                                                                           insurance company of each policy and itemize
                                                                                           surrender or refund value of each.

                                                                                           10. Annuities. Itemize and name each issuer.          X
                                                                                                        Case
                                                                                         B6B (Official Form 6B)09-26377
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                                                                                         In re     Richard T. Rinaolo & Beth L. Rinaolo                                                  Case No.
                                                                                                                          Debtor                                                                    (If known)

                                                                                                                                              SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                                         HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                CURRENT VALUE OF




                                                                                                                                                                                                           OR COMMUNITY
                                                                                                                                                                                                                                DEBTOR’S INTEREST
                                                                                                                                                  N                                                                                IN PROPERTY,
                                                                                                     TYPE OF PROPERTY                             O                    DESCRIPTION AND LOCATION                                      WITHOUT
                                                                                                                                                  N                          OF PROPERTY                                         DEDUCTING ANY
                                                                                                                                                  E                                                                              SECURED CLAIM
                                                                                                                                                                                                                                  OR EXEMPTION


                                                                                           11. Interests in an education IRA as defined in        X
                                                                                           26 U.S.C. § 530(b)(1) or under a qualified State
                                                                                           tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                           Give particulars. (File separately the record(s) of
                                                                                           any such interest(s). 11 U.S.C. § 521(c).)

                                                                                           12. Interests in IRA, ERISA, Keogh, or other           X
                                                                                           pension or profit sharing plans. Give particulars.

                                                                                           13. Stock and interests in incorporated and            X
                                                                                           unincorporated businesses. Itemize.

                                                                                           14. Interests in partnerships or joint ventures.              2049 West Howard LLC                                H                             0.00
                                                                                           Itemize.
                                                                                                                                                         (Two Unit Retail Rental Unit)

                                                                                                                                                         727-729 West Howard LLC                             H                             0.00
                                                                                                                                                         (Two Unit Retail Rental Unit)
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                                                                                                                                                         WC Acquisition LLC                                  H                             0.00
                                                                                                                                                         BP Acquisition LLC                                  H                             0.00
                                                                                                                                                         (Former Gas Station Business)

                                                                                                                                                         Grand Avenue Oil LLC                                H                             0.00
                                                                                                                                                         (Former Gas Station Business)

                                                                                                                                                         Questar Equity LLC                                  H                             0.00
                                                                                                                                                         Woodland Courts LLC                                 H                             0.00
                                                                                                                                                         (144 Unit Apartment Building)

                                                                                                                                                         Bradley Industrial Center LLC                       H                             0.00
                                                                                                                                                         (Foreclosed Industrial Park)

                                                                                                                                                         Smithfield Gardens, Inc.                            H                             0.00
                                                                                           15. Government and corporate bonds and other           X
                                                                                           negotiable and non-negotiable instruments.

                                                                                           16. Accounts receivable.                               X
                                                                                           17. Alimony, maintenance, support, and                 X
                                                                                           property settlement to which the debtor is or
                                                                                           may be entitled. Give particulars.

                                                                                           18. Other liquidated debts owing debtor                X
                                                                                           including tax refunds. Give particulars.
                                                                                                       Case6B)09-26377
                                                                                         B6B (Official Form    (12/07) -- Cont.Doc                    1     Filed 07/21/09 Entered 07/21/09 16:47:00                                     Desc Main
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                                                                                         In re     Richard T. Rinaolo & Beth L. Rinaolo                                                       Case No.
                                                                                                                           Debtor                                                                                      (If known)

                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                        CURRENT VALUE OF




                                                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                                                        DEBTOR’S INTEREST
                                                                                                                                                  N                                                                                                        IN PROPERTY,
                                                                                                     TYPE OF PROPERTY                             O                        DESCRIPTION AND LOCATION                                                          WITHOUT
                                                                                                                                                  N                              OF PROPERTY                                                             DEDUCTING ANY
                                                                                                                                                  E                                                                                                      SECURED CLAIM
                                                                                                                                                                                                                                                          OR EXEMPTION


                                                                                           19. Equitable or future interests, life estates, and   X
                                                                                           rights or powers exercisable for the benefit of
                                                                                           the debtor other than those listed in Schedule A -
                                                                                           Real Property.

                                                                                           20. Contingent and noncontingent interests in          X
                                                                                           estate or a decedent, death benefit plan, life
                                                                                           insurance policy, or trust.

                                                                                           21. Other contingent and unliquidated claims of        X
                                                                                           every nature, including tax refunds,
                                                                                           counterclaims of the debtor, and rights of setoff
                                                                                           claims. Give estimated value of each.

                                                                                           22. Patents, copyrights, and other intellectual        X
                                                                                           property. Give particulars.

                                                                                           23. Licenses, franchises, and other general            X
                                                                                           intangibles. Give particulars.
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                                                                                           24. Customer lists or other compilations               X
                                                                                           containing personally identifiable information
                                                                                           (as defined in 11 U.S.C. §101(41A)) provided to
                                                                                           the debtor by individuals in connection with
                                                                                           obtaining a product or service from the debtor
                                                                                           primarily for personal, family, or household
                                                                                           purposes.

                                                                                           25. Automobiles, trucks, trailers, and other                   Lexus Lease                                                                H                         6,750.00
                                                                                           vehicles and accessories.
                                                                                                                                                          2005 Honda Van Lease (70,000 miles)                                        J                         5,820.00
                                                                                           26. Boats, motors, and accessories.                    X
                                                                                           27. Aircraft and accessories.                          X
                                                                                           28. Office equipment, furnishings, and supplies.               Office Equipment                                                           J                           200.00
                                                                                           29. Machinery, fixtures, equipment, and                        Tools of Trade                                                             H                           500.00
                                                                                           supplies used in business.

                                                                                           30. Inventory.                                         X
                                                                                           31. Animals.                                           X
                                                                                           32. Crops - growing or harvested. Give                 X
                                                                                           particulars.

                                                                                           33. Farming equipment and implements.                  X
                                                                                           34. Farm supplies, chemicals, and feed.                X
                                                                                           35. Other personal property of any kind not            X
                                                                                           already listed. Itemize.




                                                                                                                                                                              0      continuation sheets attached        Total                          $     18,895.00
                                                                                                                                                                                     (Include amounts from any continuation
                                                                                                                                                                                       sheets attached. Report total also on
                                                                                                                                                                                             Summary of Schedules.)
                                                                                                         Case 09-26377            Doc 1       Filed 07/21/09 Entered 07/21/09 16:47:00                        Desc Main
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                                                                                         In re    Richard T. Rinaolo & Beth L. Rinaolo                                          Case No.
                                                                                                                   Debtor                                                                             (If known)

                                                                                                                  SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                           Debtor claims the exemptions to which debtor is entitled under:
                                                                                           (Check one box)

                                                                                                 11 U.S.C. § 522(b)(2)                                          Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                $136,875.
                                                                                                 11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                 CURRENT
                                                                                                                                                        SPECIFY LAW                      VALUE OF           VALUE OF PROPERTY
                                                                                                     DESCRIPTION OF PROPERTY                          PROVIDING EACH                     CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                         EXEMPTION                      EXEMPTION               EXEMPTION


                                                                                            Marital Residence                               735 ILCS 5/12-901                                 15,000.00                800,000.00
                                                                                                                                            735 ILCS 5/12-901                                 15,000.00

                                                                                            Cash on Hand                                    735 ILCS 5/12-1001(b)                                500.00                     1,000.00
                                                                                                                                            735 ILCS 5/12-1001(b)                                500.00

                                                                                            Deposits of Money (Lake Forest Bank &           735 ILCS 5/12-1001(b)                                750.00                     1,500.00
                                                                                            Trust)                                          735 ILCS 5/12-1001(b)                                750.00

                                                                                            Deposits of Money (Lake Forest Bank &           735 ILCS 5/12-1001(b)                                150.00                      300.00
                                                                                            Trust)                                          735 ILCS 5/12-1001(b)                                150.00
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                                                                                            Living Room Furniture and Furnishings           735 ILCS 5/12-1001(b)                                300.00                      600.00
                                                                                                                                            735 ILCS 5/12-1001(b)                                300.00

                                                                                            Televisions, DVD Player, VCR, Stereo and        735 ILCS 5/12-1001(b)                                175.00                      350.00
                                                                                            Lamps                                           735 ILCS 5/12-1001(b)                                175.00

                                                                                            Bedroom Set, Washer and Dryer                   735 ILCS 5/12-1001(b)                                200.00                      400.00
                                                                                                                                            735 ILCS 5/12-1001(b)                                200.00

                                                                                            Dining Room Set, Kitchen Table and Chairs       735 ILCS 5/12-1001(b)                                200.00                      400.00
                                                                                                                                            735 ILCS 5/12-1001(b)                                200.00

                                                                                            Kitchen Utensils, Stove and Refrigerator        735 ILCS 5/12-1001(b)                                125.00                      250.00
                                                                                                                                            735 ILCS 5/12-1001(b)                                125.00

                                                                                            Microwave and Dishwasher                        735 ILCS 5/12-1001(b)                                 62.50                      125.00
                                                                                                                                            735 ILCS 5/12-1001(b)                                 62.50

                                                                                            Books and Pictures                              735 ILCS 5/12-1001(b)                                 50.00                      100.00
                                                                                                                                            735 ILCS 5/12-1001(b)                                 50.00

                                                                                            Wearing Apparel                                 735 ILCS 5/12-1001(a)                                250.00                      500.00
                                                                                                                                            735 ILCS 5/12-1001(a)                                250.00
                                                                                                       Case 09-26377          Doc 1      Filed 07/21/09 Entered 07/21/09 16:47:00         Desc Main
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                                                                                         In re   Richard T. Rinaolo & Beth L. Rinaolo                           Case No.
                                                                                                                 Debtor                                                            (If known)

                                                                                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                                                         (Continuation Page)


                                                                                                                                                                                             CURRENT
                                                                                                                                                 SPECIFY LAW            VALUE OF        VALUE OF PROPERTY
                                                                                                  DESCRIPTION OF PROPERTY                      PROVIDING EACH           CLAIMED         WITHOUT DEDUCTING
                                                                                                                                                  EXEMPTION            EXEMPTION            EXEMPTION



                                                                                            Exercise Equipment                          735 ILCS 5/12-1001(b)                25.00                 50.00
                                                                                                                                        735 ILCS 5/12-1001(b)                25.00

                                                                                            Photography Equipment                       735 ILCS 5/12-1001(b)                25.00                 50.00
                                                                                                                                        735 ILCS 5/12-1001(b)                25.00

                                                                                            Lexus Lease                                 735 ILCS 5/12-1001(c)              2,400.00             6,750.00

                                                                                            2005 Honda Van Lease (70,000 miles)         735 ILCS 5/12-1001(c)              2,400.00             5,820.00

                                                                                            Office Equipment                            735 ILCS 5/12-1001(d)               200.00                200.00

                                                                                            Tools of Trade                              735 ILCS 5/12-1001(d)               500.00                500.00
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                                                                                            2049 West Howard LLC                        735 ILCS 5/12-1001(b)                 0.00                    0.00

                                                                                            727-729 West Howard LLC                     735 ILCS 5/12-1001(b)                 0.00                    0.00

                                                                                            WC Acquisition LLC                          735 ILCS 5/12-1001(b)                 0.00                    0.00

                                                                                            BP Acquisition LLC                          735 ILCS 5/12-1001(b)                 0.00                    0.00

                                                                                            Grand Avenue Oil LLC                        735 ILCS 5/12-1001(b)                 0.00                    0.00

                                                                                            Questar Equity LLC                          735 ILCS 5/12-1001(b)                 0.00                    0.00

                                                                                            Woodland Courts LLC                         735 ILCS 5/12-1001(b)                 0.00                    0.00

                                                                                            Bradley Industrial Center LLC               735 ILCS 5/12-1001(b)                 0.00                    0.00

                                                                                            Smithfield Gardens, Inc.                    735 ILCS 5/12-1001(b)                 0.00                    0.00
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                                                                                         B6D (Official Form 6D) (12/07)

                                                                                                  Richard T. Rinaolo & Beth L. Rinaolo
                                                                                         In re _______________________________________________,                                                              Case No. _________________________________
                                                                                                                       Debtor                                                                                                                               (If known)

                                                                                                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                   State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                         by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                         useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                         such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                    List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                         address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                         §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                         include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                         husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                         "Husband, Wife, Joint, or Community."
                                                                                                   If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                         labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                         one of these three columns.)
                                                                                                   Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                         labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                         Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                         the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                                                                                       AMOUNT
                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                                             DATE CLAIM WAS INCURRED,                                                     OF
                                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                          DISPUTED
                                                                                                                                                     ORCOMMUNITY




                                                                                                    CREDITOR’S NAME,
                                                                                                     MAILING ADDRESS                                                            NATURE OF LIEN, AND                                                     CLAIM            UNSECURED
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                                                                                                   INCLUDING ZIP CODE,                                                           DESCRIPTION AND                                                       WITHOUT            PORTION,
                                                                                                  AND ACCOUNT NUMBER                                                            VALUE OF PROPERTY                                                     DEDUCTING            IF ANY
                                                                                                    (See Instructions Above.)                                                     SUBJECT TO LIEN                                                      VALUE OF
                                                                                                                                                                                                                                                     COLLATERAL


                                                                                         ACCOUNT NO. 4202                                                                 Lien: Automobile Lease
                                                                                                                                                                          Security: 2005 Honda Van
                                                                                         American Honda Finance
                                                                                         2170 Point Blvd., #100                                    H                                                                                                     5,820.00             0.00
                                                                                         Elgin, IL 60123

                                                                                                                                                                          VALUE $                 5,820.00
                                                                                         ACCOUNT NO. 5256

                                                                                         American Honda Finance
                                                                                         P. O. Box 168088                                          H                                                                                                 Notice Only     Notice Only
                                                                                         Irving, TX 75016

                                                                                                                                                                          VALUE $                     0.00
                                                                                         ACCOUNT NO. 7747                                                                 Lien: Third Mortgage
                                                                                                                                                                          Security: 1668 Telegraph Road,
                                                                                         Bank of America/LaSalle
                                                                                                                                                                          Lake Forest, Illinois
                                                                                         4747 West Irving Park Road                                J                                                                                                   135,550.00             0.00
                                                                                         Chicago, IL 60641-2708

                                                                                                                                                                           VALUE $              800,000.00

                                                                                            1
                                                                                          _______ continuation sheets attached                                                                               Subtotal     $ 141,370.00                              $         0.00
                                                                                                                                                                                                     (Total of this page)
                                                                                                                                                                                                                 Total    $                                         $
                                                                                                                                                                                                  (Use only on last page)
                                                                                                                                                                                                                                           (Report also on       (If applicable, report
                                                                                                                                                                                                                                           Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                 Summary of Certain
                                                                                                                                                                                                                                                                 Liabilities and Related
                                                                                                                                                                                                                                                                 Data.)
                                                                                                      Case 09-26377                Doc 1                      Filed 07/21/09 Entered 07/21/09 16:47:00                                                              Desc Main
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                                                                                         B6D (Official Form 6D) (12/07) – Cont.



                                                                                                  Richard T. Rinaolo & Beth L. Rinaolo
                                                                                         In re __________________________________________________,                                                          Case No. _________________________________
                                                                                                                                    Debtor                                                                                                                              (If known)



                                                                                                              SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                            AMOUNT




                                                                                                                                                                                                                              UNLIQUIDATED
                                                                                                                                                       ORCOMMUNITY




                                                                                                                                                                                                                 CONTINGENT
                                                                                                    CREDITOR’S NAME,                      CODEBTOR                             DATE CLAIM WAS INCURRED,                                                        OF




                                                                                                                                                                                                                                             DISPUTED
                                                                                                     MAILING ADDRESS                                                              NATURE OF LIEN, AND                                                        CLAIM              UNSECURED
                                                                                                   INCLUDING ZIP CODE,                                                             DESCRIPTION AND                                                          WITHOUT              PORTION,
                                                                                                  AND ACCOUNT NUMBER                                                              VALUE OF PROPERTY                                                        DEDUCTING              IF ANY
                                                                                                    (See Instructions Above.)                                                       SUBJECT TO LIEN                                                         VALUE OF
                                                                                                                                                                                                                                                          COLLATERAL

                                                                                         ACCOUNT NO. 7762                                                                   Lien: Second Mortgage
                                                                                                                                                                            Security: 1668 Telegraph Road,
                                                                                         Bank of America/LaSalle
                                                                                                                                                                            Lake Forest, Illinois
                                                                                         4747 West Irving Park Road                                    J                                                                                                      441,197.00                 0.00
                                                                                         Chicago, IL 60641-2708

                                                                                                                                                                            VALUE $                800,000.00
                                                                                         ACCOUNT NO. 6365                                                                   Lien: First Mortgage
                                                                                                                                                                            Security: 1558 Teleraph Road,
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                                                                                         CitiMortgage/ABN AMRO
                                                                                                                                                                            Lake Forest, Illinois
                                                                                         100 Galleria Office Center                                    J                                                                                                      664,179.00                 0.00
                                                                                         Suite 200
                                                                                         Southfield, MI 48034-8409
                                                                                                                                                                            VALUE $                800,000.00
                                                                                         ACCOUNT NO. 5256                                                                   Lien: Automobile Lease
                                                                                                                                                                            Security: Luxus Lease
                                                                                         Lexus Financial Services
                                                                                         P. O. Box 4102                                                H                                                                                                         6,750.00                0.00
                                                                                         Carol Stream, IL 60197

                                                                                                                                                                            VALUE $                   6,750.00
                                                                                         ACCOUNT NO.




                                                                                                                                                                            VALUE $
                                                                                         ACCOUNT NO.




                                                                                                                                                                            VALUE $
                                                                                                    1 of ___continuation
                                                                                         Sheet no. ___    1              sheets attached to                                                                   Subtotal (s)    $ 1,112,126.00 $                                           0.00
                                                                                         Schedule of Creditors Holding Secured Claims                                                                 (Total(s) of this page)
                                                                                                                                                                                                                    Total(s) $ 1,253,496.00 $                                            0.00
                                                                                                                                                                                                     (Use only on last page)
                                                                                                                                                                                                                                                        (Report also on       (If applicable, report
                                                                                                                                                                                                                                                        Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                              Summary of Certain
                                                                                                                                                                                                                                                                              Liabilities and Related
                                                                                                                                                                                                                                                                              Data.)
                                                                                                      Case 09-26377               Doc 1        Filed 07/21/09 Entered 07/21/09 16:47:00                                Desc Main
                                                                                                                                                Document     Page 17 of 51
                                                                                         B6E (Official Form 6E) (12/07)


                                                                                                    Richard T. Rinaolo & Beth L. Rinaolo
                                                                                            In re________________________________________________________________,                         Case No.______________________________
                                                                                                                    Debtor                                                                               (if known)

                                                                                                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                  A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                           unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                           address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                           property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                           the type of priority.

                                                                                                  The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                           the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                           "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                           entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                           both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                           Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                           in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                           more than one of these three columns.)

                                                                                                 Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                           Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                     Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                           amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                           primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
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                                                                                           amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                           with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                           Data.



                                                                                               Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                          TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                Domestic Support Obligations

                                                                                                Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                         or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                         11 U.S.C. § 507(a)(1).


                                                                                                Extensions of credit in an involuntary case

                                                                                               Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                         appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                Wages, salaries, and commissions

                                                                                                  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                Contributions to employee benefit plans

                                                                                                     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                             cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                                                      Case 09-26377              Doc 1        Filed 07/21/09 Entered 07/21/09 16:47:00                              Desc Main
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                                                                                         B6E (Official Form 6E) (12/07) - Cont.


                                                                                                      Richard T. Rinaolo & Beth L. Rinaolo
                                                                                               In re________________________________________________________________,                      Case No.______________________________
                                                                                                                       Debtor                                                                            (if known)




                                                                                                Certain farmers and fishermen
                                                                                              Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                Deposits by individuals
                                                                                              Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                          that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                Taxes and Certain Other Debts Owed to Governmental Units

                                                                                              Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                             Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
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                                                                                          Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                          U.S.C. § 507 (a)(9).



                                                                                                Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                               Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                         alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                           * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                           adjustment.




                                                                                                                                                    1
                                                                                                                                                   ____ continuation sheets attached
                                                                                                       Case 09-26377               Doc 1                       Filed 07/21/09 Entered 07/21/09 16:47:00                                                                Desc Main
                                                                                                                                                                Document     Page 19 of 51
                                                                                         B6E (Official Form 6E) (12/07) - Cont.


                                                                                                   Richard T. Rinaolo & Beth L. Rinaolo
                                                                                           In re __________________________________________________,                                                                                        Case No. _________________________________
                                                                                                                             Debtor                                                                                                                                  (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)                                         Sec. 507(a)(8)

                                                                                                                                                                                                                                        Type of Priority for Claims Listed on This Sheet




                                                                                                                                                      HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                     CONTINGENT
                                                                                                                                                                                                                                                                                   AMOUNT

                                                                                                                                           CODEBTOR
                                                                                                     CREDITOR’S NAME,                                                         DATE CLAIM WAS




                                                                                                                                                                                                                                 DISPUTED
                                                                                                     MAILING ADDRESS                                                           INCURRED AND                                                      AMOUNT            AMOUNT             NOT
                                                                                                   INCLUDING ZIP CODE,                                                        CONSIDERATION                                                        OF            ENTITLED TO       ENTITLED
                                                                                                  AND ACCOUNT NUMBER                                                             FOR CLAIM                                                        CLAIM           PRIORITY             TO
                                                                                                    (See instructions above..)                                                                                                                                                    PRIORITY, IF
                                                                                                                                                                                                                                                                                      ANY

                                                                                         ACCOUNT NO.
                                                                                                                                                                             State Withholding
                                                                                         Illinois Department of Revenue
                                                                                         Bankruptcy Section, Level 7-425                                H                                              X X X                                      70,000.00          70,000.00            0.00
                                                                                         100 West Randolph Street
                                                                                         Chicago, IL 60606

                                                                                         ACCOUNT NO.
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                                                                                         ACCOUNT NO.




                                                                                         ACCOUNT NO.




                                                                                                   1      1                                                                                       Subtotal                                  $     70,000.00      $                $
                                                                                         Sheet no. ___ of ___continuation sheets attached to Schedule of                                 (Totals of this page)
                                                                                         Creditors Holding Priority Claims
                                                                                                                                                                                                 Total                                      $     70,000.00
                                                                                                                                                       (Use only on last page of the completed
                                                                                                                                                       Schedule E.) Report also on the Summary
                                                                                                                                                       of Schedules)

                                                                                                                                                                                                  Totals                                     $                   $   70,000.00     $      0.00
                                                                                                                                                       (Use only on last page of the completed
                                                                                                                                                       Schedule E. If applicable, report also on
                                                                                                                                                       the Statistical Summary of Certain
                                                                                                                                                       Liabilities and Related Data.)
                                                                                                        Case 09-26377                 Doc 1                     Filed 07/21/09 Entered 07/21/09 16:47:00                                                     Desc Main
                                                                                                                                                                 Document     Page 20 of 51
                                                                                         B6F (Official Form 6F) (12/07)

                                                                                                  Richard T. Rinaolo & Beth L. Rinaolo
                                                                                          In re __________________________________________,                                                                  Case No. _________________________________
                                                                                                                         Debtor                                                                                                                         (If known)

                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                          against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                          useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                          of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                          1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                          appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                          community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                          "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                          Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                          Related Data.
                                                                                                   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                         HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                           ORCOMMUNITY




                                                                                                                                                                                                                            CONTINGENT
                                                                                                                                              CODEBTOR




                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                        DISPUTED
                                                                                                     CREDITOR’S NAME,                                                                                                                                                  AMOUNT
                                                                                                      MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                      OF
                                                                                                    INCLUDING ZIP CODE,                                                                                                                                                 CLAIM
                                                                                                   AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                                     (See instructions above.)

                                                                                         ACCOUNT NO.                                                                            Balance on Account
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                                                                                         Acura Financial Services
                                                                                         P. O. Box 60001                                                 J                                                                                                                  5,536.00
                                                                                         City of Industry, CA 91716-0001



                                                                                         ACCOUNT NO.                                                                            Judgment
                                                                                         Albert and Susan Scherb
                                                                                         c/o Burke Warren MacKay                                         J                                                                                              X                 483,000.00
                                                                                         330 North Wabash, 22nd Flr.
                                                                                         Chicago, IL 60611


                                                                                         ACCOUNT NO.                                                                            Personal Guaranty on Business Loan
                                                                                         Betsy Thurman
                                                                                         c/o Law Office of Jacob Meister                                 H                                                                                                                300,000.00
                                                                                         65 E. Wacker Pl., #2300
                                                                                         Chicago, IL 60601


                                                                                         ACCOUNT NO.                                                                            Personal Guaranty on Business Loan
                                                                                         Bill Singh
                                                                                         A-One Carpet                                                    H                                                                                                                  3,500.00
                                                                                         2341 West Devon
                                                                                         Chicago, IL 60659


                                                                                               5
                                                                                             _______ continuation sheets attached                                                                                         Subtotal                                 $      792,036.00
                                                                                                                                                                                                             Total                                                 $
                                                                                                                                                              (Use only on last page of the completed Schedule F.)
                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 09-26377               Doc 1                      Filed 07/21/09 Entered 07/21/09 16:47:00                                                              Desc Main
                                                                                                                                                              Document     Page 21 of 51
                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Richard T. Rinaolo & Beth L. Rinaolo
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.                                                                        Balance on Account
                                                                                         Bogie Martinovich
                                                                                         Ray & Glick                                                  J                                                                                                                               4,000.00
                                                                                         P. O. Box 400
                                                                                         Libertyville, IL 60048


                                                                                         ACCOUNT NO.      4873                                                              Balance on Business Account
                                                                                         Capital One
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                                                                                         P. O. Box 85520                                              H                                                                                                                               5,400.00
                                                                                         Richmond, VA 23285



                                                                                         ACCOUNT NO.      4873
                                                                                         Capital One Bank
                                                                                         P. O. Box 5155                                               H                                                                                                                        Notice Only
                                                                                         Norcross, GA 30091



                                                                                         ACCOUNT NO.                                                                        Personal Guaranty on Business Loan
                                                                                         CIT Small Business Lending
                                                                                         c/o Agata Karpowicz                                          H                                                                                                                             507,000.00
                                                                                         333 West Wacker, #300
                                                                                         Chicago, IL 60606


                                                                                          ACCOUNT NO.                                                                       Personal Guaranty on Business Loan
                                                                                                                                                                            (Deficiency on Foreclosure)
                                                                                         Citibank
                                                                                         c/o Hauselman, Rappin                                        H                                                                                                                           3,500,000.00
                                                                                         39 S. LaSalle St., #1105
                                                                                         Chicago, IL 60603


                                                                                                    1 of _____continuation
                                                                                         Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $      4,016,400.00
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 09-26377               Doc 1                      Filed 07/21/09 Entered 07/21/09 16:47:00                                                              Desc Main
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                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Richard T. Rinaolo & Beth L. Rinaolo
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.                                                                        Balance on Account
                                                                                         ComEd
                                                                                         Bankruptcy Department                                        J                                                                                                        X                  1,000.00
                                                                                         3 Lincoln Centre, 4th Flr.
                                                                                         Oakbrook Terrace, IL 60181


                                                                                         ACCOUNT NO.                                                                        Personal Guaranty on Business Loan
                                                                                         DK Corporation of Addison
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                                                                                         c/o The Sterling Law Office                                  H                                                                                                                          35,000.00
                                                                                         101 W. Grand Ave., #200
                                                                                         Chicago, IL 60654


                                                                                         ACCOUNT NO.                                                                        Personal Guaranty on Business Loan
                                                                                         Eby-Brown Companpy
                                                                                         2051 Baseline Road                                           H                                                                                                                           5,000.00
                                                                                         Montgomery, IL 60538



                                                                                         ACCOUNT NO.                                                                        Woodland Courts, LLC
                                                                                                                                                                            Commercial Mortgage Deficiency
                                                                                         EREF Mezzanine Fund
                                                                                         1200 North Ashland Avenue                                    H                                                                                                                        1,500,000.00
                                                                                         Suite 600
                                                                                         Chicago, IL 60622


                                                                                          ACCOUNT NO.                                                                       Personal Guaranty on Business Loan
                                                                                         EREF Mezzanine Fund
                                                                                         c/o Steven Ackerman                                          J                                                                                                                        1,150,000.00
                                                                                         566 West Adams, #600
                                                                                         Chicago, IL 60661


                                                                                                    2 of _____continuation
                                                                                         Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $   2,691,000.00
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 09-26377               Doc 1                      Filed 07/21/09 Entered 07/21/09 16:47:00                                                              Desc Main
                                                                                                                                                              Document     Page 23 of 51
                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Richard T. Rinaolo & Beth L. Rinaolo
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.                                                                        Personal Guaranty on Business Loan
                                                                                         First Midwest Bank
                                                                                         c/o Randall & Kenig                                          H                                                                                                                        1,000,000.00
                                                                                         455 N. Cityfront Plaza, #2510
                                                                                         Chicago, IL 60611


                                                                                         ACCOUNT NO.                                                                        Personal Guaranty on Business Loan
                                                                                         Harris Bank
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                                                                                         c/o Chapman & Cutler                                         H                                                                                                                        1,000,000.00
                                                                                         111 West Monroe
                                                                                         Chicago, IL 60603


                                                                                         ACCOUNT NO.                                                                        Personal Guaranty on Business Loan
                                                                                         Harris Bank
                                                                                         c/o Chapman & Cutler                                         H                                                                                                                         300,000.00
                                                                                         111 West Monroe
                                                                                         Chicago, IL 60603


                                                                                         ACCOUNT NO.                                                                        Balanc eon Account
                                                                                         Lake Forest Hospital
                                                                                         660 North Westmoreland Road                                  J                                                                                                                           7,500.00
                                                                                         Lake Forest, IL 60045



                                                                                          ACCOUNT NO.                                                                       Personal Guaranty on Business Loan
                                                                                         Lakeside Oil
                                                                                         c/o Padway & Padway                                          H                                                                                                                         130,000.00
                                                                                         633 West Wisconsin Avenue
                                                                                         Milwaukee, WI 53203


                                                                                                    3 of _____continuation
                                                                                         Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $   2,437,500.00
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                      Case 09-26377               Doc 1                      Filed 07/21/09 Entered 07/21/09 16:47:00                                                              Desc Main
                                                                                                                                                              Document     Page 24 of 51
                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Richard T. Rinaolo & Beth L. Rinaolo
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.                                                                        Personal Guaranty on Business Loan
                                                                                         Lakeside Oil
                                                                                         c/o Padway & Padway                                          H                                                                                                                         300,000.00
                                                                                         633 West Wisconsin Avenue
                                                                                         Milwaukee, WI 53203


                                                                                         ACCOUNT NO.                                                                        Personal Guaranty on Business Loan
                                                                                         M & I Bank
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                                                                                         c/o Robbins Salomon                                          H                                                                                                                        1,000,000.00
                                                                                         25 East Washington, 10th Flr
                                                                                         Chicago, IL 60602


                                                                                         ACCOUNT NO.                                                                        Personal Guaranty on Business Loan
                                                                                         Mark Schulman
                                                                                         c/o Wiczer & Zelmar                                          H                                                                                                                         130,000.00
                                                                                         500 Skokie Bovd., #350
                                                                                         Northbrook, IL 60062


                                                                                         ACCOUNT NO.                                                                        Balance on Account
                                                                                         Mowery & Schoenfeld
                                                                                         3 Hawthorn Parkway                                           J                                                                                                                           3,000.00
                                                                                         Vernon Hills, IL 60061



                                                                                          ACCOUNT NO.                                                                       Personal Guaranty on Business Loan
                                                                                         Parent Petroleum
                                                                                         c/o William Boylan PC                                        H                                                                                                                          60,000.00
                                                                                         381 E. St. Charles Road
                                                                                         Carol Stream, IL 60188


                                                                                                    4 of _____continuation
                                                                                         Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $   1,493,000.00
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                         B6F (Official Form 6F) (12/07) - Cont.


                                                                                                   Richard T. Rinaolo & Beth L. Rinaolo
                                                                                           In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                            Debtor                                                                                                                             (If known)


                                                                                              SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                         CODEBTOR
                                                                                                    CREDITOR’S NAME,
                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                DISPUTED
                                                                                                     MAILING ADDRESS                                                                                                                                                            AMOUNT
                                                                                                                                                                                       CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                                   INCLUDING ZIP CODE,
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                                  AND ACCOUNT NUMBER
                                                                                                    (See instructions above.)


                                                                                         ACCOUNT NO.                                                                        Personal Guaranty on Business Loan
                                                                                         Pete Panayioutou
                                                                                         c/o Kililis, Ridings & Vonau                                 H                                                                                                                           64,500.00
                                                                                         730 E. Terra Cotta, #1B
                                                                                         Crystal Lake, IL 60014


                                                                                         ACCOUNT NO.                                                                        Balance on Account
                                                                                         Richards, Ralph & Schwab
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                                                                                         175 East Hawthorn Parkway                                    J                                                                                                                             1,172.00
                                                                                         Suite 345
                                                                                         Vernon Hills, IL 60061


                                                                                         ACCOUNT NO.                                                                        Balance on Account
                                                                                         Rick Golding
                                                                                         500 North Dearborn Street                                    J                                                                                                                             4,000.00
                                                                                         2nd Floor
                                                                                         Chicago, IL 60610


                                                                                         ACCOUNT NO.




                                                                                          ACCOUNT NO.




                                                                                                    5 of _____continuation
                                                                                         Sheet no. _____    5                sheets attached                                                                                     Subtotal                                  $      69,672.00
                                                                                         to Schedule of Creditors Holding Unsecured
                                                                                         Nonpriority Claims                                                                                                                          Total                                 $   11,499,608.00
                                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                        Case 09-26377             Doc 1        Filed 07/21/09 Entered 07/21/09 16:47:00                              Desc Main
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                                                                                                 Richard T. Rinaolo & Beth L. Rinaolo
                                                                                         In re                                                                              Case No.
                                                                                                                   Debtor                                                                              (if known)

                                                                                                 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                          State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                          names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                          contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                          guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                 Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                            DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                 NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                    OF OTHER PARTIES TO LEASE OR CONTRACT.                                  NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                                         American Honda Finance                                                        2005 Honda Van
                                                                                         P. O. Box 168088
                                                                                         Irving TX 75016
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                                                                                                      Case 09-26377              Doc 1        Filed 07/21/09 Entered 07/21/09 16:47:00                             Desc Main
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                                                                                         In re   Richard T. Rinaolo & Beth L. Rinaolo                                      Case No.
                                                                                                                  Debtor                                                                              (if known)


                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                                             Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                         debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                         property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                         Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                         name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                         commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                         commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                         parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                         Fed. Bankr. P. 1007(m).
                                                                                             Check this box if debtor has no codebtors.



                                                                                                       NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                                      Richard T. Rinaolo & Beth L. Rinaolo
                                                                                         In re                                                                                       Case
                                                                                                                Debtor                                                                                  (if known)
                                                                                                                SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                         The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                                                                                         filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
                                                                                         calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

                                                                                          Debtor’s Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                          Status:   Married                RELATIONSHIP(S): son, daughter, son, daughter, son, daughter,                    AGE(S): 13, 11, 9, 7, 5, 3, 3 Mo.
                                                                                                                                                 daughter
                                                                                          Employment:                             DEBTOR                                                                 SPOUSE
                                                                                          Occupation                        Property Management                                    Home Maker
                                                                                          Name of Employer                  Hathaway Companies
                                                                                          How long employed                 10 Months
                                                                                          Address of Employer



                                                                                         INCOME: (Estimate of average or projected monthly income at time case filed)                                  DEBTOR                  SPOUSE
                                                                                         1. Monthly gross wages, salary, and commissions
                                                                                                                                                                                                          9,600.00
                                                                                                                                                                                                    $ _____________                 0.00
                                                                                                                                                                                                                           $ _____________
                                                                                               (Prorate if not paid monthly.)
                                                                                         2. Estimated monthly overtime                                                                                       0.00
                                                                                                                                                                                                    $ _____________                 0.00
                                                                                                                                                                                                                           $ _____________

                                                                                         3. SUBTOTAL                                                                                                      9,600.00
                                                                                                                                                                                                     $ _____________                 0.00
                                                                                                                                                                                                                            $ _____________
                                                                                         4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                              0.00
                                                                                                                                                                                                     $ _____________                 0.00
                                                                                                                                                                                                                            $ _____________
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                                                                                                 a.   Payroll taxes and social security
                                                                                                                                                                                                              0.00
                                                                                                                                                                                                     $ _____________                 0.00
                                                                                                                                                                                                                            $ _____________
                                                                                                 b.   Insurance
                                                                                                 c.   Union Dues                                                                                              0.00
                                                                                                                                                                                                     $ _____________                 0.00
                                                                                                                                                                                                                            $ _____________
                                                                                                 d.   Other (Specify:___________________________________________________________)                             0.00
                                                                                                                                                                                                     $ _____________                 0.00
                                                                                                                                                                                                                            $ _____________

                                                                                         5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                    0.00
                                                                                                                                                                                                     $ _____________                0.00
                                                                                                                                                                                                                            $ _____________

                                                                                         6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                              9,600.00
                                                                                                                                                                                                     $ _____________                0.00
                                                                                                                                                                                                                            $ _____________

                                                                                         7. Regular income from operation of business or profession or farm                                                   0.00
                                                                                                                                                                                                     $ _____________                0.00
                                                                                                                                                                                                                            $ _____________
                                                                                            (Attach detailed statement)
                                                                                         8. Income from real property                                                                                         0.00
                                                                                                                                                                                                     $ _____________                0.00
                                                                                                                                                                                                                            $ _____________
                                                                                         9. Interest and dividends                                                                                            0.00
                                                                                                                                                                                                     $ _____________                0.00
                                                                                                                                                                                                                            $ _____________
                                                                                         10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                                                                                              0.00
                                                                                                                                                                                                     $ _____________                0.00
                                                                                                                                                                                                                            $ _____________
                                                                                            debtor’s use or that of dependents listed above.
                                                                                         11. Social security or other government assistance
                                                                                                                                                                                                              0.00
                                                                                                                                                                                                     $ _____________                0.00
                                                                                                                                                                                                                            $ _____________
                                                                                            ( Specify)
                                                                                         12. Pension or retirement income                                                                                     0.00
                                                                                                                                                                                                     $ _____________                0.00
                                                                                                                                                                                                                            $ _____________
                                                                                         13. Other monthly income                                                                                             0.00
                                                                                                                                                                                                     $ _____________                0.00
                                                                                                                                                                                                                            $ _____________
                                                                                             (Specify)                                                                                                        0.00
                                                                                                                                                                                                     $ _____________                0.00
                                                                                                                                                                                                                            $ _____________
                                                                                         14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $ _____________
                                                                                                                                                                                                              0.00          $ _____________
                                                                                                                                                                                                                                    0.00
                                                                                         15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                 9,600.00
                                                                                                                                                                                                     $ _____________                0.00
                                                                                                                                                                                                                            $ _____________

                                                                                         16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                              $ _____________
                                                                                                                                                                                                                       9,600.00
                                                                                             from line 15)
                                                                                                                                                                                (Report also on Summary of Schedules and, if applicable,
                                                                                                                                                                                on Statistical Summary of Certain Liabilities and Related Data)

                                                                                         17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                                                  Income is commission based and varies (past 6 months averaged $9,600, but future is estimated to be less).
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                                                                                                 Richard T. Rinaolo & Beth L. Rinaolo
                                                                                          In re________________________________________________ ,                     Case No.____________________________________________
                                                                                                             Debtor                                                                     (if known)

                                                                                                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                                                                    (Continuation Page)

                                                                                                                                                       DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                                                         RELATIONSHIP                                                        AGE
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                                                                                                       Case
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                                                                                          In re Richard T. Rinaolo & Beth L. Rinaolo                                                Case No.
                                                                                                               Debtor                                                                                 (if known)

                                                                                                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                      Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                           filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
                                                                                           calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

                                                                                                 Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                 labeled “Spouse.”


                                                                                         1. Rent or home mortgage payment (include lot rented for mobile home)                                                                $ _____________
                                                                                                                                                                                                                                     4,273.00
                                                                                                    a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                    b. Is property insurance included?                 Yes ________ No ________
                                                                                         2. Utilities: a. Electricity and heating fuel                                                                                        $ ______________
                                                                                                                                                                                                                                       500.00
                                                                                                        b. Water and sewer                                                                                                    $ ______________
                                                                                                                                                                                                                                        50.00
                                                                                                        c. Telephone                                                                                                          $ ______________
                                                                                                                                                                                                                                       125.00
                                                                                                        d. Other ___________________________________________________________________                                          $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                         3. Home maintenance (repairs and upkeep)                                                                                             $ ______________
                                                                                                                                                                                                                                       100.00
                                                                                         4. Food                                                                                                                              $ ______________
                                                                                                                                                                                                                                     1,500.00
                                                                                         5. Clothing                                                                                                                          $ ______________
                                                                                                                                                                                                                                       500.00
                                                                                         6. Laundry and dry cleaning                                                                                                          $ ______________
                                                                                                                                                                                                                                       150.00
                                                                                         7. Medical and dental expenses                                                                                                       $ ______________
                                                                                                                                                                                                                                       250.00
                                                                                         8. Transportation (not including car payments)                                                                                       $ ______________
                                                                                                                                                                                                                                       500.00
                                                                                         9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                  $ ______________
                                                                                                                                                                                                                                       100.00
                                                                                         10.Charitable contributions                                                                                                          $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                         11.Insurance (not deducted from wages or included in home mortgage payments)
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                                                                                                    a. Homeowner’s or renter’s                                                                                                $ ______________
                                                                                                                                                                                                                                       100.00
                                                                                                    b. Life                                                                                                                   $ ______________
                                                                                                                                                                                                                                       100.00
                                                                                                    c. Health                                                                                                                 $ ______________
                                                                                                                                                                                                                                       433.00
                                                                                                    d.Auto                                                                                                                    $ ______________
                                                                                                                                                                                                                                       100.00
                                                                                                    e. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                         12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                         (Specify)          Real Estate Taxes                                                                                                 $ ______________
                                                                                                                                                                                                                                     1,000.00
                                                                                         13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                    a. Auto                                                                                                                   $______________
                                                                                                                                                                                                                                       675.00
                                                                                                    b. Other Auto Lease Installments                                                                                          $ ______________
                                                                                                                                                                                                                                       485.00
                                                                                                    c. Other Second and Third Mortgages                                                                                       $ ______________
                                                                                                                                                                                                                                     1,869.00
                                                                                         14. Alimony, maintenance, and support paid to others                                                                                 $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                         15. Payments for support of additional dependents not living at your home                                                            $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                         16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                     $ ______________
                                                                                                                                                                                                                                         0.00
                                                                                         17. Other                School Tuition                                                                                              $______________
                                                                                                                                                                                                                                     1,000.00
                                                                                         18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                                                                                                                    13,810.00
                                                                                         if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                         19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                   None


                                                                                         20. STATEMENT OF MONTHLY NET INCOME
                                                                                                 a. Average monthly income from Line 15 of Schedule I                                                                             9,600.00
                                                                                                                                                                                                                           $ ______________
                                                                                                 b. Average monthly expenses from Line 18 above                                                                            $ ______________
                                                                                                                                                                                                                                 13,810.00
                                                                                                 c. Monthly net income (a. minus b.)                                                                                             -4,210.00
                                                                                                                                                                                                                           $ ______________
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                                                                                               B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                     United States Bankruptcy Court
                                                                                                                                               Northern District of Illinois
                                                                                                           Richard T. Rinaolo & Beth L. Rinaolo
                                                                                              In re                                                                                        Case No.
                                                                                                                                               Debtor
                                                                                                                                                                                           Chapter        7

                                                                                                                                              SUMMARY OF SCHEDULES
                                                                                         Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                         I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                         claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                         Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                    AMOUNTS SCHEDULED
                                                                                                                                        ATTACHED
                                                                                           NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER
                                                                                           A – Real Property
                                                                                                                                        YES                     1            $    800,000.00

                                                                                           B – Personal Property
                                                                                                                                        YES                     3            $     18,895.00
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                                                                                           C – Property Claimed
                                                                                               as exempt                                YES                     2

                                                                                           D – Creditors Holding
                                                                                              Secured Claims                            YES                     2                                  $   1,253,496.00

                                                                                           E - Creditors Holding Unsecured
                                                                                               Priority Claims                          YES                     3                                  $      70,000.00
                                                                                              (Total of Claims on Schedule E)
                                                                                           F - Creditors Holding Unsecured
                                                                                               Nonpriority Claims                       YES                     6                                  $11,499,608.00


                                                                                           G - Executory Contracts and
                                                                                               Unexpired Leases                         YES                     1

                                                                                           H - Codebtors
                                                                                                                                        YES                     1

                                                                                           I - Current Income of
                                                                                               Individual Debtor(s)                     YES                     2                                                        $     9,600.00

                                                                                           J - Current Expenditures of Individual
                                                                                               Debtors(s)                               YES                     1                                                        $    13,810.00


                                                                                                                                TOTAL                           22           $    818,895.00       $12,823,104.00
                                                                                                 Case
                                                                                           Official Form09-26377         Doc 1 (12/07)
                                                                                                         6 - Statistical Summary Filed 07/21/09                        Entered 07/21/09 16:47:00          Desc Main
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                                                                                                                               United States Bankruptcy Court
                                                                                                                                                 Northern District of Illinois

                                                                                                      In re       Richard T. Rinaolo & Beth L. Rinaolo                              Case No.
                                                                                                                                                Debtor
                                                                                                                                                                                    Chapter         7

                                                                                         STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                         §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                               Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                         information here.

                                                                                         This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                         Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                            Type of Liability                                                           Amount

                                                                                            Domestic Support Obligations (from Schedule E)                             $
                                                                                                                                                                            N.A.
                                                                                            Taxes and Certain Other Debts Owed to Governmental Units (from             $
                                                                                            Schedule E)
                                                                                                                                                                            N.A.
                                                                                            Claims for Death or Personal Injury While Debtor Was Intoxicated (from     $
                                                                                            Schedule E) (whether disputed or undisputed)                                    N.A.
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                                                                                            Student Loan Obligations (from Schedule F)                                 $    N.A.
                                                                                            Domestic Support, Separation Agreement, and Divorce Decree                 $
                                                                                            Obligations Not Reported on Schedule E                                          N.A.
                                                                                            Obligations to Pension or Profit-Sharing, and Other Similar Obligations    $
                                                                                            (from Schedule F)                                                               N.A.

                                                                                                                                                             TOTAL     $    N.A.


                                                                                           State the Following:
                                                                                            Average Income (from Schedule I, Line 16)                                  $    N.A.
                                                                                            Average Expenses (from Schedule J, Line 18)                                $    N.A.
                                                                                            Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                            22B Line 11; OR, Form 22C Line 20 )                                        $
                                                                                                                                                                            N.A.



                                                                                           State the Following:
                                                                                            1. Total from Schedule D, “UNSECURED PORTION, IF                                         $   N.A.
                                                                                            ANY” column

                                                                                            2. Total from Schedule E, “AMOUNT ENTITLED TO
                                                                                            PRIORITY” column.
                                                                                                                                                                       $    N.A.

                                                                                            3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                        $
                                                                                            PRIORITY, IF ANY” column                                                                     N.A.

                                                                                            4. Total from Schedule F                                                                 $   N.A.
                                                                                            5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                             $   N.A.
                                                                                                            Case
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                                                                                                                     Declaration) (12/07)                              1        Filed 07/21/09 Entered 07/21/09 16:47:00                                                                 Desc Main
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                                                                                                         Richard T. Rinaolo & Beth L. Rinaolo
                                                                                               In re                                                                                                                                        Case No.
                                                                                                                                      Debtor                                                                                                                                   (If known)

                                                                                                                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                              DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                   24 sheets, and that they
                                                                                                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______
                                                                                               are true and correct to the best of my knowledge, information, and belief.



                                                                                                Date       July 21, 2009                                                                                             Signature:          /s/ Richard T. Rinaolo
                                                                                                                                                                                                                                                                        Debtor:


                                                                                                Date       July 21, 2009                                                                                             Signature:          /s/ Beth L. Rinaolo
                                                                                                                                                                                                                                                               (Joint Debtor, if any)

                                                                                                                                                                                                                            [If joint case, both spouses must sign.]
                                                                                            -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                        DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                              I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                          compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                          110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                          by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                          accepting any fee from the debtor, as required by that section.


                                                                                          Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                          of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)
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                                                                                           If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                           who signs this document.




                                                                                           Address

                                                                                           X
                                                                                                                Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                         Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                         If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                         A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                         18 U.S.C. § 156.
                                                                                         -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                              DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                               I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                         or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                         in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                         shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                         Date                                                                                                                 Signature:


                                                                                                                                                                                                                               [Print or type name of individual signing on behalf of debtor.]
                                                                                                                          [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                          -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                 Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                  Case 09-26377               Doc 1        Filed 07/21/09 Entered 07/21/09 16:47:00                               Desc Main
                                                                                            B7 (Official Form 7) (12/07)
                                                                                                                                            Document     Page 34 of 51
                                                                                                                             UNITED STATES BANKRUPTCY COURT
                                                                                                                                                Northern District of Illinois

                                                                                         In Re Richard T. Rinaolo & Beth L. Rinaolo                                                           Case No.
                                                                                                                                                                                                               (if known)


                                                                                                                                    STATEMENT OF FINANCIAL AFFAIRS

                                                                                                         This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                               the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                               information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                               filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                               provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                               indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                               or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                               R. Bankr. P. 1007(m).

                                                                                                         Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                               must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                               additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                               case number (if known), and the number of the question.

                                                                                                                                                            DEFINITIONS

                                                                                                          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                               individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                               the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                               the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                               employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                               in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.
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                                                                                                          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                               their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                               percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                               such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                          1. Income from employment or operation of business

                                                                                                          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                          the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                              None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                          two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                          the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                          of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                          under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                          spouses are separated and a joint petition is not filed.)

                                                                                                                  AMOUNT                                                SOURCE
                                                                                                   2009(db) $57,650.00          Operation of Business and Commissions

                                                                                                   2008(db)($1,304,120)         Operation of Business (Net Loss)

                                                                                                   2007(db) ($ 228,990)         Operation of Business (Net Loss)



                                                                                                   2008(jdb)

                                                                                                   2007(jdb)

                                                                                                   2006(jdb)
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                                                                                                   2.   Income other than from employment or operation of business

                                                                                         None             State the amount of income received by the debtor other than from employment, trade, profession, or
                                                                                                   operation of the debtor's business during the two years immediately preceding the commencement of this case.
                                                                                                   Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                   under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                                                   the spouses are separated and a joint petition is not filed.)

                                                                                                    AMOUNT                                                           SOURCE

                                                                                            2007 (db)       $17,039.00           IRA Distribution

                                                                                            (db)



                                                                                                   3. Payments to creditors
                                                                                         None
                                                                                                   Complete a. or b., as appropriate, and c.
                                                                                                   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases
                                                                                                   of goods or services, and other debts to any creditor made within 90 days immediately preceding the
                                                                                                   commencement of this case unless the aggregate value of all property that constitutes or is affected by such
                                                                                                   transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                                                   a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                                                                                                   nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13
                                                                                                   must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                   separated and a joint petition is not filed.)
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                                                                                         NAME AND ADDRESS OF CREDITOR                              DATES OF                           AMOUNT             AMOUNT STILL
                                                                                                                                                   PAYMENTS                            PAID                 OWING

                                                                                         Current monthly mortgage, car and
                                                                                         school tuition payments.



                                                                                         None
                                                                                                   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor
                                                                                                   made within 90 days immediately preceding the commencement of the case unless the aggregate value of all
                                                                                                   property that constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual,
                                                                                                   indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                                                   obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
                                                                                                   credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and
                                                                                                   other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                   and a joint petition is not filed.)


                                                                                         NAME AND ADDRESS OF CREDITOR                              DATES OF                           AMOUNT             AMOUNT STILL
                                                                                          AND RELATIONSHIP TO DEBTOR                               PAYMENTS                            PAID                 OWING
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                                                                                         None
                                                                                                 c. All debtors: List all payments made within one year immediately preceding the commencement of this case
                                                                                                 to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13
                                                                                                 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                 separated and a joint petition is not filed.)


                                                                                         NAME AND ADDRESS OF CREDITOR                            DATES OF                     AMOUNT PAID           AMOUNT STILL
                                                                                          AND RELATIONSHIP TO DEBTOR                             PAYMENTS                                              OWING


                                                                                                 4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                         None    a.      List all suits and administrative proceedings to which the debtor is or was a party within one year
                                                                                                 immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                 must include information concerning either or both spouses whether or not a joint petition is filed, unless the
                                                                                                 spouses are separated and a joint petition is not filed.)


                                                                                          CAPTION OF SUIT              NATURE OF PROCEEDING                         COURT OR                              STATUS OR
                                                                                         AND CASE NUMBER                                                       AGENCY AND LOCATION                        DISPOSITION

                                                                                         CIT Small Business          Foreclosure Proceedings                      Circuit Court of Cook               Pending
                                                                                         Lending Corporation                                                      County, Illinois
                                                                                         v. 727-29 West
                                                                                         Howard, LLC, et al.
                                                                                         Case No. 08 CH 43604
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                                                                                         EREF Mezzanine              Collection Proceedings                       Circuit Court of Cook               Pending
                                                                                         Fund, LLC v.                                                             County, Illinois
                                                                                         Richard and Elizabeth
                                                                                         Rinaolo
                                                                                         Case No.
                                                                                         2009L005718

                                                                                         Pete Panayiotou v.          Collection Proceedings                       Circuit Court of McHenry            Judgment Entered
                                                                                         Smithfield Architects,                                                   County, Illinois
                                                                                         et al.
                                                                                         Case No. 07 LA 306

                                                                                         Citibank, N.A. v.           Foreclosure Proceedings                      Circuit Court of Lake               Pending
                                                                                         Bradley Industrial                                                       County, Illinois
                                                                                         Center, et al.
                                                                                         Case No. 08 CH 3389

                                                                                         Thurman v. Rinaola          Collection Proceedings                       Circuit Court of Lake               Judgment
                                                                                                                                                                  County, Illinois                    Entered/Citation
                                                                                                                                                                                                      Pending
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                                                                                         None     b.      Describe all property that has been attached, garnished or seized under any legal or equitable process
                                                                                                  within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                                                                                                  12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
                                                                                                  petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                            NAME AND ADDRESS OF                                      DATE OF                                    DESCRIPTION AND
                                                                                          PERSON FOR WHOSE BENEFIT                                   SEIZURE                                   VALUE OF PROPERTY
                                                                                            PROPERTY WAS SEIZED


                                                                                                  5.   Repossessions, foreclosures and returns

                                                                                         None            List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a
                                                                                                  deed in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement
                                                                                                  of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                                                  property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                  joint petition is not filed.)


                                                                                             NAME AND                                 DATE OF REPOSESSION,                                      DESCRIPTION AND
                                                                                            ADDRESS OF                                 FORECLOSURE SALE,                                       VALUE OF PROPERTY
                                                                                         CREDITOR OR SELLER                           TRANSFER OR RETURN


                                                                                                  6. Assignments and Receiverships

                                                                                         None     a.      Describe any assignment of property for the benefit of creditors made within 120 days immediately
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                                                                                                  preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                  any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                  and a joint petition is not filed.)


                                                                                                 NAME AND                                    DATE OF ASSIGNMENT                              TERMS OF
                                                                                                  ADDRESS                                                                                   ASSIGNMENT
                                                                                                OF ASSIGNEE                                                                                OR SETTLEMENT


                                                                                         None     b.      List all property which has been in the hands of a custodian, receiver, or court-appointed official within
                                                                                                  one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                  chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
                                                                                                  is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                 NAME AND                          NAME AND LOCATION                         DATE OF               DESCRIPTION AND
                                                                                                  ADDRESS                          OF COURT CASE TITLE                        ORDER               VALUE OF PROPERTY
                                                                                                OF CUSTODIAN                            & NUMBER
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                                                                                                 7.   Gifts

                                                                                         None          List all gifts or charitable contributions made within one year immediately preceding the commencement of
                                                                                                 this case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual
                                                                                                 family member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing
                                                                                                 under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
                                                                                                 joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                NAME AND                          RELATIONSHIP                      DATE OF                 DESCRIPTION AND
                                                                                               ADDRESS OF                       TO DEBTOR, IF ANY                     GIFT                   VALUE OF GIFT
                                                                                         PERSON OR ORGANIZATION


                                                                                                 8.   Losses

                                                                                         None           List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                 commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12
                                                                                                 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
                                                                                                 spouses are separated and a joint petition is not filed.)


                                                                                            DESCRIPTION                          DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                          DATE OF
                                                                                            AND VALUE                               WAS COVERED IN WHOLE OR IN PART BY                                LOSS
                                                                                            OF PROPERTY                                 INSURANCE, GIVE PARTICULARS


                                                                                                 9.   Payments related to debt counseling or bankruptcy
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                                                                                         None            List all payments made or property transferred by or on behalf of the debtor to any persons, including
                                                                                                 attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
                                                                                                 petition in bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                  NAME AND ADDRESS                        DATE OF PAYMENT,                          AMOUNT OF MONEY OR
                                                                                                      OF PAYEE                            NAME OF PAYOR IF                            DESCRIPTION AND
                                                                                                                                         OTHER THAN DEBTOR                           VALUE OF PROPERTY

                                                                                         James T. Magee                            July 30, 2008                               $7,500.00 (Commercial Foreclosure
                                                                                         Magee, Negele & Associates, P.C.          Payor: Debtor                               Defense and Defense of Claims)
                                                                                         444 North Cedar Lake Road
                                                                                         Round Lake, Illinois 60073

                                                                                         James T. Magee                            July 8, 2009                                $2,500.00 (Bankruptcy)
                                                                                         Magee, Negele & Associates, P.C.          Payor: Debtor
                                                                                         444 North Cedar Lake Road
                                                                                         Round Lake, Illinois 60073
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                                                                                                   10. Other transfers

                                                                                         None      a.     List all other property, other than property transferred in the ordinary course of the business or financial
                                                                                                   affairs of the debtor, transferred either absolutely or as security within two years immediately preceding the
                                                                                                   commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
                                                                                                   either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
                                                                                                   is not filed.)


                                                                                           NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                               RELATIONSHIP TO DEBTOR                                                                          TRANSFERRED AND
                                                                                                                                                                                                VALUE RECEIVED


                                                                                                   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
                                                                                                   case to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                         None

                                                                                                NAME OF TRUST OR OTHER DEVICE                              DATE(S) OF                        AMOUNT OF MONEY OR
                                                                                                                                                          TRANSFER(S)                          DESCRIPTION AND
                                                                                                                                                                                              VALUE OF PROPERTY
                                                                                                                                                                                             OR DEBTOR'S INTEREST
                                                                                                                                                                                                 IN PROPERTY

                                                                                                   11. Closed financial accounts

                                                                                         None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
                                                                                                   which were closed, sold, or otherwise transferred within one year immediately preceding the commencement of
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                                                                                                   this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
                                                                                                   shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage
                                                                                                   houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                   information concerning accounts or instruments held by either or both spouses whether or not a joint petition is
                                                                                                   filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND                            TYPE OF ACCOUNT, LAST FOUR                                      AMOUNT AND
                                                                                                   ADDRESS                            DIGITS OF ACCOUNT NUMBER,                                       DATE OF SALE
                                                                                                OF INSTITUTION                       AND AMOUNT OF FINAL BALANCE                                       OR CLOSING


                                                                                                   12. Safe deposit boxes

                                                                                         None             List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                   valuables within one year immediately preceding the commencement of this case.                (Married debtors filing
                                                                                                   under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
                                                                                                   joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                     NAME AND                       NAMES AND ADDRESSES OF                  DESCRIPTION OF              DATE OF
                                                                                                  ADDRESS OF BANK                  THOSE WITH ACCESS TO BOX                   CONTENTS                TRANSFER OR
                                                                                                OR OTHER DEPOSITORY                     OR DEPOSITORY                                               SURRENDER, IF ANY
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                                                                                                   13. Setoffs

                                                                                         None             List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90
                                                                                                   days preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                   include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
                                                                                                   are separated and a joint petition is not filed.)


                                                                                                NAME AND ADDRESS OF CREDITOR                                DATE                                 AMOUNT
                                                                                                                                                             OF                                     OF
                                                                                                                                                           SETOFF                                 SETOFF

                                                                                                   14. Property held for another person

                                                                                         None           List all property owned by another person that the debtor holds or controls.


                                                                                                    NAME AND                               DESCRIPTION AND                             LOCATION OF PROPERTY
                                                                                                 ADDRESS OF OWNER                         VALUE OF PROPERTY


                                                                                                   15. Prior address of debtor
                                                                                         None
                                                                                                          If the debtor has moved within the three years immediately preceding the commencement of this case, list
                                                                                                   all premises which the debtor occupied during that period and vacated prior to the commencement of this case.
                                                                                                   If a joint petition is filed, report also any separate address of either spouse.
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                                                                                                 ADDRESS                                         NAME USED                                  DATES OF OCCUPANCY



                                                                                                   16. Spouses and Former Spouses
                                                                                         None
                                                                                                      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                   Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
                                                                                                   within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
                                                                                                   spouse and of any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                 NAME


                                                                                                   17. Environmental Sites

                                                                                                   For the purpose of this question, the following definitions apply:

                                                                                                   "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                   releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater,
                                                                                                   or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                   wastes, or material.

                                                                                                             "Site" means any location, facility, or property as defined under any Environmental Law, whether or
                                                                                                             not presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                             "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic
                                                                                                             substance, hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                         None
                                                                                                   a.       List the name and address of every site for which the debtor has received notice in writing by a
                                                                                                   governmental unit that it may be liable or potentially liable under or in violation of an Environmental Law.
                                                                                                   Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                  SITE NAME                        NAME AND ADDRESS                        DATE OF                 ENVIRONMENTAL
                                                                                                 AND ADDRESS                     OF GOVERNMENTAL UNIT                       NOTICE                      LAW
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                                                                                                 b.     List the name and address of every site for which the debtor provided notice to a governmental unit of a
                                                                                                 release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                         None

                                                                                                 SITE NAME                      NAME AND ADDRESS                          DATE OF                 ENVIRONMENTAL
                                                                                                AND ADDRESS                   OF GOVERNMENTAL UNIT                         NOTICE                      LAW


                                                                                                 c.      List all judicial or administrative proceedings, including settlements or orders, under any Environmental
                                                                                                 Law with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit
                                                                                         None    that is or was a party to the proceeding, and the docket number.


                                                                                                  NAME AND ADDRESS                             DOCKET NUMBER                              STATUS OR DISPOSITION
                                                                                                OF GOVERNMENTAL UNIT


                                                                                                 18. Nature, location and name of business

                                                                                         None    a.     If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                 businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                                                                                                 partner, or managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a
                                                                                                 trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                                                 commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
                                                                                                 within the six years immediately preceding the commencement of this case.

                                                                                                 If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                                                                                                 and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more
                                                                                                 of the voting or equity securities, within the six years immediately preceding the commencement of this case.
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                                                                                                 If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                 businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                                                                                                 percent or more of the voting or equity securities within the six years immediately preceding the commencement
                                                                                                 of this case.

                                                                                          NAME           LAST FOUR DIGITS OF                 ADDRESS                  NATURE OF BUSINESS BEGINNING AND
                                                                                                         SOCIAL-SECURITY OR                                                              ENDING DATES
                                                                                                          OTHER INDIVIDUAL
                                                                                                           TAXPAYER-I.D. NO.
                                                                                                         (ITIN)/ COMPLETE EIN
                                                                                         2049 W. Howard           XX-XXXXXXX                                                Two Unit
                                                                                         LLC                                                                                Commercial Rental

                                                                                         727-729 W. Howard                                                                  Two Unit
                                                                                         LLC                                                                                Commercial Rental

                                                                                         WC Acquisition           XX-XXXXXXX                                                Retail Center
                                                                                         LLC

                                                                                         BP Acquisition LLC       20-58577874                                               Gas Station

                                                                                         Grand Avenue Oil                                                                   Gas Station
                                                                                         LLC

                                                                                         Questar Equity LLC       XX-XXXXXXX

                                                                                         Woodland Courts                                                                    144 Unit Apartment
                                                                                         LLC                                                                                Building
                                                                                                           Case 09-26377                      Doc 1            Filed 07/21/09 Entered 07/21/09 16:47:00                                                   Desc Main
                                                                                                                                                                Document     Page 42 of 51
                                                                                                         NAME                 LAST FOUR DIGITS OF                           ADDRESS                           NATURE OF BUSINESS BEGINNING AND
                                                                                                                              SOCIAL-SECURITY OR                                                                                 ENDING DATES
                                                                                                                               OTHER INDIVIDUAL
                                                                                                                                TAXPAYER-I.D. NO.
                                                                                                                              (ITIN)/ COMPLETE EIN
                                                                                                      Bradley Industrial                                                                                             Industrial Park
                                                                                                      Center LLC


                                                                                                                   b.    Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined
                                                                                                                   in 11 U.S.C. § 101.
                                                                                                      None

                                                                                                                   NAME                                                                                                      ADDRESS


                                                                                                             All of the Above as set out in 18a.



                                                                                                                                   [Questions 19 - 25 are not applicable to this case]
                                                                                                                                                               *     *     *     *     *    *


                                                                                                      [If completed by an individual or individual and spouse]

                                                                                                      I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
                                                                                                      attachments thereto and that they are true and correct.
                                                                                                      July 21, 2009                                                                                  /s/ Richard T. Rinaolo
                                                                                         Date                                                                            Signature
                                                                                                                                                                         of Debtor                   RICHARD T. RINAOLO
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                                                                                         Date         July 21, 2009                                                      Signature                   /s/ Beth L. Rinaolo
                                                                                                                                                                         of Joint Debtor             BETH L. RINAOLO

                                                                                                                                                                 0 continuation sheets attached
                                                                                                                                                               _____


                                                                                                             Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                         compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b);
                                                                                         (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition
                                                                                         preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
                                                                                         debtor, as required in that section.




                                                                                         Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                         If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                         partner who signs this document.




                                                                                         Address

                                                                                         X
                                                                                         Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                         Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                         not an individual:
                                                                                                        Case 09-26377            Doc 1      Filed 07/21/09 Entered 07/21/09 16:47:00                   Desc Main
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                                                                                                                             UNITED STATES BANKRUPTCY COURT
                                                                                                                                               Northern District of Illinois
                                                                                                 Richard T. Rinaolo & Beth L. Rinaolo
                                                                                         In re                                                                 ,         Case No.
                                                                                                                        Debtor                                                             Chapter 7



                                                                                                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                          PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                          secured by property of the estate. Attach additional pages if necessary.)


                                                                                            Property No. 1
                                                                                           Creditor's Name:                                                         Describe Property Securing Debt:
                                                                                            CitiMortgage/ABN AMRO                                                     Marital Residence



                                                                                            Property will be (check one):
                                                                                                      Surrendered                                   Retained

                                                                                             If retaining the property, I intend to (check at least one):
                                                                                                      Redeem the property
                                                                                                      Reaffirm the debt
                                                                                                      Other. Explain _______________________________________________(for example, avoid lien
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                                                                                            using 11 U.S.C. §522(f)).

                                                                                            Property is (check one):
                                                                                                       Claimed as exempt                                           Not claimed as exempt



                                                                                            Property No. 2 (if necessary)
                                                                                           Creditor's Name:                                                         Describe Property Securing Debt:
                                                                                            LaSalle/Bank of America                                                   Marital Residence



                                                                                            Property will be (check one):
                                                                                                      Surrendered                                   Retained

                                                                                             If retaining the property, I intend to (check at least one):
                                                                                                      Redeem the property
                                                                                                      Reaffirm the debt
                                                                                                      Other. Explain _______________________________________________(for example, avoid lien
                                                                                            using 11 U.S.C. §522(f)).

                                                                                            Property is (check one):
                                                                                                       Claimed as exempt                                           Not claimed as exempt
                                                                                                        Case 09-26377              Doc 1     Filed 07/21/09 Entered 07/21/09 16:47:00               Desc Main
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                                                                                             PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                             Each unexpired lease. Attach additional pages if necessary.)


                                                                                               Property No. 1           NO Leased Property
                                                                                              Lessor's Name:                                   Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                    to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                       YES              NO


                                                                                               Property No. 2 (if necessary)
                                                                                              Lessor's Name:                                   Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                    to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                       YES              NO


                                                                                               Property No. 3 (if necessary)
                                                                                              Lessor's Name:                                   Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                    to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                       YES              NO

                                                                                               2
                                                                                              ______ continuation sheets attached (if any)
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                                                                                             I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                             Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                   July 21, 2009
                                                                                             Date:_____________________________                            /s/ Richard T. Rinaolo
                                                                                                                                                        Signature of Debtor




                                                                                                                                                           /s/ Beth L. Rinaolo
                                                                                                                                                        Signature of Joint Debtor
                                                                                                           Case 09-26377             Doc 1        Filed 07/21/09 Entered 07/21/09 16:47:00                    Desc Main
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                                                                                                                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                                                                         (Continuation Sheet)
                                                                                            PART A - Continuation




                                                                                              Property No: 3

                                                                                              Creditor's Name:                                                           Describe Property Securing Debt:
                                                                                               LaSalle/Bank of America                                                   Marital Residence



                                                                                                   Property will be (check one):
                                                                                                           Surrendered                                      Retained
                                                                                                   If retaining the property, I intend to (check at least one):
                                                                                                           Redeem the property
                                                                                                           Reaffirm the debt
                                                                                                           Other. Explain                                                                               (for example, avoid lien
                                                                                                   using 11 U.S.C.§522(f)).

                                                                                                   Property is (check one):
                                                                                                          Claimed as exempt                                            Not claimed as exempt
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                                                                                              Property No: 4

                                                                                              Creditor's Name:                                                           Describe Property Securing Debt:
                                                                                               Lexus Financial                                                           Lexus Lease



                                                                                                   Property will be (check one):
                                                                                                           Surrendered                                      Retained
                                                                                                   If retaining the property, I intend to (check at least one):
                                                                                                           Redeem the property
                                                                                                           Reaffirm the debt
                                                                                                           Other. Explain                                                                               (for example, avoid lien
                                                                                                   using 11 U.S.C.§522(f)).

                                                                                                   Property is (check one):
                                                                                                          Claimed as exempt                                            Not claimed as exempt
                                                                                                           Case 09-26377             Doc 1        Filed 07/21/09 Entered 07/21/09 16:47:00                    Desc Main
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                                                                                                                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                                                                         (Continuation Sheet)
                                                                                            PART A - Continuation




                                                                                              Property No: 5

                                                                                              Creditor's Name:                                                           Describe Property Securing Debt:
                                                                                               American Honda Finance                                                    2005 Honda Van Lease (70,000 miles)



                                                                                                   Property will be (check one):
                                                                                                           Surrendered                                      Retained
                                                                                                   If retaining the property, I intend to (check at least one):
                                                                                                           Redeem the property
                                                                                                           Reaffirm the debt
                                                                                                           Other. Explain                                                                               (for example, avoid lien
                                                                                                   using 11 U.S.C.§522(f)).

                                                                                                   Property is (check one):
                                                                                                          Claimed as exempt                                            Not claimed as exempt
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                  UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


In Re:                                          Case Number:

  Richard T. Rinaolo                            Chapter 7
  Beth L. Rinaolo




                       VERIFICATION OF MAILING MATRIX



The above-named Debtor(s) hereby verifies that the attached list of creditors is
true and correct to the best of my (our) knowledge.



Dated:




                                                       Debtor




                                                      Joint Debtor




James T. Magee [#01729446]
MAGEE, NEGELE & ASSOCIATES, P.C.
444 North Cedar Lake Road
Round Lake, Illinois 60073
(847) 546-0055
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Acura Financial Services              Capital One                        First Midwest Bank
P. O. Box 60001                       P. O. Box 85520                    c/o Randall & Kenig
City of Industry, CA 91716-0001       Richmond, VA 23285                 455 N. Cityfront Plaza, #2510
                                                                         Chicago, IL 60611


Albert and Susan Scherb               Capital One Bank                   Harris Bank
c/o Burke Warren MacKay               P. O. Box 5155                     c/o Chapman & Cutler
330 North Wabash, 22nd Flr.           Norcross, GA 30091                 111 West Monroe
Chicago, IL 60611                                                        Chicago, IL 60603


American Honda Finance                CIT Small Business Lending         Harris Bank
2170 Point Blvd., #100                c/o Agata Karpowicz                c/o Chapman & Cutler
Elgin, IL 60123                       333 West Wacker, #300              111 West Monroe
                                      Chicago, IL 60606                  Chicago, IL 60603


American Honda Finance                Citibank                           Illinois Department of
P. O. Box 168088                      c/o Hauselman, Rappin              Revenue
Irving TX 75016                       39 S. LaSalle St., #1105           Bankruptcy Section, Level
                                      Chicago, IL 60603                  7-425
                                                                         100 West Randolph Street
                                                                         Chicago, IL 60606
American Honda Finance                CitiMortgage/ABN AMRO              Lake Forest Hospital
P. O. Box 168088                      100 Galleria Office Center         660 North Westmoreland
Irving, TX 75016                      Suite 200                          Road
                                      Southfield, MI 48034-8409          Lake Forest, IL 60045


Bank of America/LaSalle               ComEd                              Lakeside Oil
4747 West Irving Park Road            Bankruptcy Department              c/o Padway & Padway
Chicago, IL 60641-2708                3 Lincoln Centre, 4th Flr.         633 West Wisconsin Avenue
                                      Oakbrook Terrace, IL 60181         Milwaukee, WI 53203


Bank of America/LaSalle               DK Corporation of Addison          Lakeside Oil
4747 West Irving Park Road            c/o The Sterling Law Office        c/o Padway & Padway
Chicago, IL 60641-2708                101 W. Grand Ave., #200            633 West Wisconsin Avenue
                                      Chicago, IL 60654                  Milwaukee, WI 53203


Betsy Thurman                         Eby-Brown Companpy                 Lexus Financial Services
c/o Law Office of Jacob Meister       2051 Baseline Road                 P. O. Box 4102
65 E. Wacker Pl., #2300               Montgomery, IL 60538               Carol Stream, IL 60197
Chicago, IL 60601


Bill Singh                            EREF Mezzanine Fund                M & I Bank
A-One Carpet                          1200 North Ashland Avenue          c/o Robbins Salomon
2341 West Devon                       Suite 600                          25 East Washington, 10th Flr
Chicago, IL 60659                     Chicago, IL 60622                  Chicago, IL 60602


Bogie Martinovich                     EREF Mezzanine Fund                Mark Schulman
Ray & Glick                           c/o Steven Ackerman                c/o Wiczer & Zelmar
P. O. Box 400                         566 West Adams, #600               500 Skokie Bovd., #350
Libertyville, IL 60048                Chicago, IL 60661                  Northbrook, IL 60062
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Mowery & Schoenfeld
3 Hawthorn Parkway
Vernon Hills, IL 60061



Parent Petroleum
c/o William Boylan PC
381 E. St. Charles Road
Carol Stream, IL 60188


Pete Panayioutou
c/o Kililis, Ridings & Vonau
730 E. Terra Cotta, #1B
Crystal Lake, IL 60014


Richards, Ralph & Schwab
175 East Hawthorn Parkway
Suite 345
Vernon Hills, IL 60061


Rick Golding
500 North Dearborn Street
2nd Floor
Chicago, IL 60610
                                                                                                        Case 09-26377               Doc 1        Filed 07/21/09 Entered 07/21/09 16:47:00                                 Desc Main
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                                                                                         12/94
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                                     Northern District of Illinois
                                                                                                 In re Richard T. Rinaolo & Beth L. Rinaolo                                            Case No. ____________________
                                                                                                                                                                                       Chapter           7
                                                                                                                                                                                                    ____________________
                                                                                                 Debtor(s)
                                                                                                                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                         1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                 and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                 rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                              5,000.00
                                                                                                 For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                                  5,000.00
                                                                                                 Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                 0.00
                                                                                                 Balance Due ......................................……………………………………….................... $ ______________

                                                                                         2.      The source of compensation paid to me was:

                                                                                                                  Debtor                  Other (specify)
                                                                                         3.      The source of compensation to be paid to me is:
                                                                                                                  Debtor                  Other (specify)

                                                                                         4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                         associates of my law firm.

                                                                                                    I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                         of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.
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                                                                                         5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                  a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                  b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                  c. [Other provisions as needed]
                                                                                          Upon confirmation of written Post-Petition Fee Agreement for payment of Balance Due, representation of the Debtor at the
                                                                                          meeting of creditors and confirmation hearing, and any adjourned hearings thereof.




                                                                                          6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                                                                                          Representation of the debtor in adversary proceedings and other contested bankruptcy matters.




                                                                                                                                                                 CERTIFICATION

                                                                                                         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                      debtor(s) in the bankruptcy proceeding.


                                                                                                         July 21, 2009
                                                                                                      ____________________________________                                /s/ James T. Magee
                                                                                                                                                                        __________________________________________________
                                                                                                                     Date                                                                Signature of Attorney

                                                                                                                                                                          Magee, Negele & Associates, P.C.
                                                                                                                                                                        __________________________________________________
                                                                                                                                                                                         Name of law firm
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                                  UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

IN RE:                                                         )    Chapter 7
   Richard T. Rinaolo                                          )    Bankruptcy Case No.
   Beth L. Rinaolo                                             )
                                                               )
     Debtor(s).                                                )

                        DECLARATION REGARDING ELECTRONIC FILING
                            Signed by Debtor(s) or Corporate Representative
                              To Be Used When Filing over the Internet


PART I - DECLARATION OF PETITIONER                                               Date:__________________
A.    To be completed in all cases.

      I(We) Richard T. Rinaolo and Beth L. Rinaolo
      , the undersigned debtor(s), corporate officer, partner, or member, hereby declare under penalty of perjury that the
      information I(we) have given my (our)attorney, including correct social security number(s) and the information
      provided in the electronically filed petition, statements, schedules, and if applicable, application to pay filing fee in
      installments, and Application for Waiver of the Chapter 7 Filing Fee, is true and correct. I(we) consent to my(our)
      attorney sending the petition, statements, schedules, and this DECLARATION to the United States Bankruptcy
      Court. I(we) understand that this DECLARATION must be filed with the Clerk in addition to the petition. I(we)
      understand that failure to file this DECLARATION will cause this case to be dismissed pursuant to 11 U.S.C.
      sections 707(a) and 105.

B.    To be checked and applicable only if the petitioner is an individual (or individuals) whose
      debts are primarily consumer debts and who has (or have) chosen to file under chapter 7.

               I(we) am(are) aware that I(we) may proceed under chapter 7, 11, 12, or 13 of Title 11 United States
               Code; I(we) understand the relief available under each such chapter; I(we) choose to proceed under
               chapter 7; and I(we) request relief in accordance with chapter 7.

C.    To be checked and applicable only if the petition is a corporation, partnership, or limited
      liability entity.

               I declare under penalty of perjury that the information provided in this petition is true and correct and that I
               have been authorized to file this petition on behalf of the debtor. The debtor requests relief in accordance
               with the chapter specified in the petition.


      Signature:____________________________                       Signature:____________________________
               (Debtor or Corporate Officer, Partner or Member)                                (Joint Debtor)
